Case 3:10-cr-00308-P Document 270 Filed 11/30/18     Page 1 of 87 PageID 5582

                                                                    DFTTERM,STICKNEY
                             U.S. District Court
                      Northern District of Texas (Dallas)
              CRIMINAL DOCKET FOR CASE #: 3:10−cr−00308−P−1

Case title: USA v. Musacchio et al                 Date Filed: 11/02/2010
                                                   Date Terminated: 11/19/2013
                                                                   CERTIFIED
                                                                    ERTIFIED A TRUE COPY
                                                                                    COP
Assigned to: Judge Jorge A Solis                                   KAREN
                                                                    AREN MITCHELL, CLERK
                                                                                   CLER
Appeals court case number: 13−11294
                                                                      By s/*THOMAS DREW
                                                                        DEPUTY CLERK
Defendant (1)                                                  U.S. DISTRICT COURT, NORTHERN
                                                                      DISTRICT OF TEXAS
Michael Musacchio                     represented by Jay Ethington       November 30, 2018
TERMINATED: 11/19/2013                               Law Offices of Jay Ethington
                                                     3131 McKinney Avenue, Suite 800
                                                     Dallas, TX 75204
                                                     214−740−9955
                                                     Fax: 214−740−9912
                                                     Email: jay@jayethington.com
                                                     LEAD ATTORNEY
                                                     ATTORNEY TO BE NOTICED
                                                     Designation: Retained
                                                     Bar Status: Admitted/In Good Standing

                                                    Elizabeth Hosea Lemoine
                                                    Wick Phillips Gould & Martin, LLP
                                                    3131 McKinney Ave. Suite 100
                                                    Suite 700
                                                    Dallas, TX 75204
                                                    (214) 692−6200
                                                    Fax: (214) 692−6255
                                                    Email: elizabeth.lemoine@wickphillips.com
                                                    ATTORNEY TO BE NOTICED
                                                    Designation: Retained
                                                    Bar Status: Admitted/In Good Standing

                                                    Jody Lynn Rudman
                                                    NOSSAMAN, LLP
                                                    816 Congress Ave., Suite 970
                                                    Austin, TX 78701
                                                    512−651−0660
                                                    Fax: 512−651−0670
                                                    Email: jrudman@nossaman.com
                                                    ATTORNEY TO BE NOTICED
                                                    Designation: Retained
                                                    Bar Status: Admitted/In Good Standing

                                                    Joe Kendall

                                                                                             1
Case 3:10-cr-00308-P Document 270 Filed 11/30/18    Page 2 of 87 PageID 5583

                                                   Kendall Law Group PLLC
                                                   3811 Turtle Creek Blvd.
                                                   Suite 1450
                                                   Dallas, TX 75219
                                                   214−744−3000
                                                   Fax: 214−744−3015
                                                   Email: jkendall@kendalllawgroup.com
                                                   ATTORNEY TO BE NOTICED
                                                   Designation: Retained
                                                   Bar Status: Admitted/In Good Standing

                                                   N Henry Simpson , III
                                                   Busch Ruotolo & Simpson LLP
                                                   100 Crescent Court, Suite 250
                                                   Dallas, TX 75201
                                                   214−389−2893
                                                   Fax: 214−855−2871
                                                   Email: hsimpson@buschllp.com
                                                   ATTORNEY TO BE NOTICED
                                                   Designation: Retained
                                                   Bar Status: Admitted/In Good Standing

                                                   Reid Manning
                                                   Law Office of Reid Manning
                                                   P.O. Box 192665
                                                   Dallas, TX 75219
                                                   214/740−9955
                                                   Fax: 214/740−9912
                                                   Email: reidmanninglaw@gmail.com
                                                   ATTORNEY TO BE NOTICED
                                                   Designation: Retained
                                                   Bar Status: Admitted/In Good Standing

Pending Counts                                     Disposition
18:371 Conspiracy to Make Unauthorized
Access to Protected Computer and to Exceed
                                                   DISMISSED per JS chambers
Authorized Access to Protected Computer
(1)
18:371 Conspiracy to Make Unauthorized
Access to Protected Computed
(18:1030(a)(2)(C);(c)(2)(B)(i) and (iii)           DISMISSED per JS chambers
(unauthorized access))
(1s)
18:371; 1030(a)(2)(c);(c)(2)(B)(i) and (iii)       BOP for a term of Sixty (60) Months as
Conspiracy To Make Unauthorized Access to          to Count 1; Supervised Release for Three
Protected Computer                                 (3) years as to Count 1; Restitution to be
(1ss)                                              Determined; MSA $100.00
18:1030(a)(2)(C); (c)(2)(B)(i) and (iii)
Unauthorized Access to Protected Computers         DISMISSED per JS chambers
(2s−3s)
                                                                                                2
Case 3:10-cr-00308-P Document 270 Filed 11/30/18                   Page 3 of 87 PageID 5584

                                                                  BOP for a term of Sixty Months as to
                                                                  Count 2 to run concurrent to Count 1; 3
18:1030(a)(2)(c); (c)(2)(B)(i) and (iii)                          Months as to Count 3 to run consecutive
Unauthorized Access to Protected Computers                        to Counts 1 and 2; Supervised Release
(2ss)                                                             Three years as to each Counts to run
                                                                  concurrent; Restitution to be determined;
                                                                  MSA $100 per count.
                                                                  BOP for a term of Sixty Months as to
                                                                  Count 2 to run concurrent to Count 1; 3
18:1030(a)(2)(c); (c)(2)(B)(i) and (iii)                          Months as to Count 3 to run consecutive
Unauthorized Access to Protected Computers                        to Counts 1 and 2; Supervised Release
(3ss)                                                             Three years as to each Counts to run
                                                                  concurrent; Restitution to be determined;
                                                                  MSA $100 per count.
18:1030(a)(2)(C);(c)(2)(B)(i)−(iii)Unauthorized
Access to Protected Computers
(23−24)

Highest Offense Level (Opening)
Felony

Terminated Counts                                                 Disposition
None

Highest Offense Level (Terminated)
None

Complaints                                                        Disposition
None



Movant
Karen L Cook                                      represented by Karen Lundskow Cook
                                                                 Karen Cook PLLC
                                                                 1717 McKinney Avenue
                                                                 Suite 700
                                                                 Dallas, TX 75202
                                                                 214−593−6429
                                                                 Fax: 214−593−6431
                                                                 Email: karen@karencooklaw.com
                                                                 LEAD ATTORNEY
                                                                 ATTORNEY TO BE NOTICED
                                                                 Bar Status: Admitted/In Good Standing



Plaintiff
                                                                                                              3
Case 3:10-cr-00308-P Document 270 Filed 11/30/18     Page 4 of 87 PageID 5585

USA                                  represented by Linda C Groves−DOJ
                                                    US Attorney's Office
                                                    1100 Commerce St
                                                    3rd Floor
                                                    Dallas, TX 75242−1699
                                                    214/659−8600
                                                    Fax: 214/767−2846
                                                    Email: usatxn.ecfbounceback@usdoj.gov
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED
                                                    Designation: Assistant US Attorney
                                                    Bar Status: Admitted/In Good Standing

                                                   Candina S Heath−DOJ
                                                   US Attorney's Office
                                                   1100 Commerce St
                                                   3rd Floor
                                                   Dallas, TX 75242−1699
                                                   214−659−8634
                                                   Fax: 214−659−8805
                                                   Email: candina.heath@usdoj.gov
                                                   ATTORNEY TO BE NOTICED
                                                   Designation: Assistant US Attorney
                                                   Bar Status: Admitted/In Good Standing

                                                   Mona Sedky
                                                   US Department of Justice−Computer
                                                   Crime Intel Prop Section
                                                   10th & Constitution Ave NW
                                                   John C Keeney Bldg Suite 600
                                                   Washington, DC 20005
                                                   202/353−4304
                                                   Fax: 202/514−6113
                                                   TERMINATED: 07/20/2011
                                                   Designation: Retained
                                                   Bar Status: Not Admitted

                                                   Richard D Green
                                                   US Attorney's Office
                                                   Department of Justice
                                                   1301 New York Avenue NW
                                                   Suite 600
                                                   Washington, DC 20005
                                                   202/616−3475
                                                   Fax: 202/514−6113
                                                   Email: richard.green@usdoj.gov
                                                   ATTORNEY TO BE NOTICED
                                                   Designation: Retained
                                                   Bar Status: Not Admitted

 Date Filed   #   Page Docket Text

                                                                                            4
Case 3:10-cr-00308-P Document 270 Filed 11/30/18            Page 5 of 87 PageID 5586


 11/02/2010            Magistrate Judge Stickney chosen by random selection to handle matters that
                       may be referred in case as to Michael Musacchio, Joseph Taylor (Roy) Brown,
                       John Michael Kelly. (ykp) (Entered: 11/03/2010)
 11/02/2010   1    25 INDICTMENT as to Michael Musacchio (1) count(s) 1, 23−24, Joseph Taylor
                      (Roy) Brown (2) count(s) 1, 2−22, John Michael Kelly (3) count(s) 1, 2−22.
                      (ykp) (Entered: 11/03/2010)
 11/04/2010            Voluntary Surrender of Michael Musacchio. (mcr) (Entered: 11/05/2010)
 11/04/2010   3        Minute Entry for proceedings held before Magistrate Judge Renee Harris
                       Toliver: Initial Appearance as to Michael Musacchio held on 11/4/2010.
                       Attorney Appearances: AUSA − Linda Groves; Defense − Jay Ethington.
                       (Court Reporter: Digital File) (No exhibits) Time in Court − :08. (mcr)
                       (Entered: 11/05/2010)
 11/04/2010   4        NOTICE OF ATTORNEY APPEARANCE by Jay Ethington appearing for
                       Michael Musacchio. (mcr) (Entered: 11/05/2010)
 11/04/2010   5        ORDER Setting Conditions of Release as to Michael Musacchio (1) PR.
                       (Ordered by Magistrate Judge Renee Harris Toliver on 11/4/2010) (mcr)
                       (Entered: 11/05/2010)
 11/04/2010   6        Minute Entry for proceedings held before Magistrate Judge Renee Harris
                       Toliver: Arraignment as to Michael Musacchio (1) Count 1,23−24 held on
                       11/4/2010. Plea entered by Michael Musacchio: Not Guilty on counts 1,23,24.
                       Attorney Appearances: AUSA − Linda Groves; Defense − Jay Ethington.
                       (Court Reporter: Digital File) (No exhibits) Time in Court − :01. (mcr)
                       (Entered: 11/05/2010)
 11/05/2010   12       Receipt for Surrender of Passport as to Michael Musacchio. Passport Number
                       439908295 issued by USA. (dnc) (Entered: 11/05/2010)
 11/08/2010   21       PRETRIAL SCHEDULING ORDER as to Michael Musacchio: Jury Trial set
                       for 1/3/2011 08:45 AM before Judge Jorge A Solis. Motions due by
                       11/19/2010. Pretrial Conference set for 12/22/2010 03:00 PM before Judge
                       Jorge A Solis. Pretrial Materials due by 12/17/2010. Responses due by
                       12/1/2010. (Ordered by Judge Jorge A Solis on 11/8/2010) (axm) (Entered:
                       11/08/2010)
 11/08/2010   22       Arrest Warrant Returned Executed on 11/3/2010 as to Michael Musacchio.
                       (jrb) (Entered: 11/09/2010)
 11/17/2010   25       Unopposed MOTION for Designation as Complex Case and for Continuance
                       filed by USA as to Michael Musacchio, Joseph Taylor (Roy) Brown, John
                       Michael Kelly (Groves−DOJ, Linda) Modified on 11/18/2010 (skt). (Entered:
                       11/17/2010)
 11/19/2010   26       ORDER granting 25 Unopposed Motion for Designation as Complex Case and
                       for Continuance as to Michael Musacchio (1), Joseph Taylor (Roy) Brown (2),
                       John Michael Kelly (3). Jury Trial continued to 7/18/2011 08:45 AM before
                       Judge Jorge A Solis. Motions due by 6/8/2011. Pretrial Materials due by
                       7/1/2011. Responses due by 6/20/2011. Pretrial Conference set for 7/6/2011
                       03:00 PM before Judge Jorge A Solis. (see order) (Ordered by Judge Jorge A
                       Solis on 11/19/2010) (axm) (Entered: 11/19/2010)

                                                                                                     5
Case 3:10-cr-00308-P Document 270 Filed 11/30/18           Page 6 of 87 PageID 5587


 12/20/2010   27     Unopposed MOTION to Amend/Correct 1 Indictment filed by USA as to
                     Michael Musacchio, Joseph Taylor (Roy) Brown, John Michael Kelly
                     (Attachments: # 1 Proposed Amendment Amended Indictment) (Groves−DOJ,
                     Linda) (Entered: 12/20/2010)
 12/21/2010   28     ORDER granting 27 Government's Motion Requesting the Court to Permit the
                     Filing of an Amended Indictment to Correct the Name of Defendant No. 2 to
                     "Joseph Roy Brown" as to Michael Musacchio (1), Joseph Taylor (Roy)
                     Brown (2), John Michael Kelly (3). (See Order) (Ordered by Judge Jorge A
                     Solis on 12/21/2010) (skt) (Entered: 12/21/2010)
 05/24/2011   41     Unopposed MOTION to Continue filed by Michael Musacchio (Attachments:
                     # 1 Proposed Order) (Ethington, Jay) (Entered: 05/24/2011)
 05/24/2011   42     ORDER granting 41 Motion to Continue as to Michael Musacchio (1).
                     (Ordered by Judge Jorge A Solis on 5/24/2011) (chmb) (Entered: 05/25/2011)
 05/25/2011   43     SCHEDULING ORDER as to Michael Musacchio, John Michael Kelly:
                     Pretrial Conference set for 11/23/2011 03:00 PM before Judge Jorge A Solis.
                     Jury Trial set for 12/5/2011 08:45 AM in US Courthouse, Courtroom 1632,
                     1100 Commerce St., Dallas, TX 75242−1310 before Judge Jorge A Solis.
                     Motions due by 10/28/2011. Responses due by 11/4/2011. Pretrial Materials
                     due by 11/18/2011. (Ordered by Judge Jorge A Solis on 5/25/2011) (chmb)
                     (Entered: 05/25/2011)
 07/19/2011   49     Unopposed MOTION to Substitute Attorney. Richard D Green added by USA
                     as to Michael Musacchio, Joseph Roy Brown, John Michael Kelly
                     (Groves−DOJ, Linda) Modified on 7/21/2011 (mfw). (Entered: 07/19/2011)
 07/20/2011   50     ORDER granting 49 Unopposed Motion To Permit Withdrawal and
                     Substitution of Government Co−counsel as to Michael Musacchio (1), Joseph
                     Roy Brown (2), John Michael Kelly (3): Attorney Mona Sedky is permitted to
                     withdraw, and Attorney Richard Green shall be substituted as co−counsel in
                     the case. (Ordered by Judge Jorge A Solis on 7/20/2011) (twd) (Entered:
                     07/21/2011)
 08/29/2011          Terminated duplicated hearing deadlines as to Michael Musacchio. (gmg)
                     (Entered: 08/29/2011)
 09/29/2011   51     ELECTONIC NOTICE as to Michael Musacchio and John Michael Kelly:
                     Pretrial Conference reset for 11/16/2011 03:00 PM before Judge Jorge A Solis.
                     (chmb) (Entered: 09/29/2011)
 10/28/2011   53     Joint MOTION to Continue Trial and Pretrial Deadlines filed by USA as to
                     Michael Musacchio, Joseph Roy Brown, John Michael Kelly (Groves−DOJ,
                     Linda) (Entered: 10/28/2011)
 10/31/2011   54     ORDER granting 53 Motion to Continue as to Michael Musacchio (1), John
                     Michael Kelly (3); Pretrial Conference RESET for 2/8/2012 03:30 PM before
                     Judge Jorge A Solis. Jury Trial RESET for 2/21/2012 08:45 AM in US
                     Courthouse, Courtroom 1632, 1100 Commerce St., Dallas, TX 75242−1310
                     before Judge Jorge A Solis. Motions due by 1/13/2012. Responses due by
                     1/20/2012. Pretrial Materials due by 2/3/2012. (Ordered by Judge Jorge A
                     Solis on 10/31/2011) (chmb) (Entered: 11/01/2011)
 01/13/2012   55     Designation of Experts by USA (Groves−DOJ, Linda) (Entered: 01/13/2012)
                                                                                                     6
Case 3:10-cr-00308-P Document 270 Filed 11/30/18           Page 7 of 87 PageID 5588


 01/13/2012   56     Joint MOTION for Extension of Time to File Pretrial Motions filed by
                     Michael Musacchio (Attachments: # 1 Proposed Order) (Ethington, Jay)
                     (Entered: 01/13/2012)
 01/13/2012   57     MOTION in Limine re T&K Report filed by USA as to Michael Musacchio,
                     John Michael Kelly (Groves−DOJ, Linda) (Entered: 01/13/2012)
 01/17/2012   58     Designation of Experts by USA (Groves−DOJ, Linda) (Entered: 01/17/2012)
 01/18/2012   60     ORDER granting 56 Motion for Extension of Time to file Pretrial Motions as
                     to Michael Musacchio (1). Pretrial Motions due by 1/20/2012. Responses due
                     by 1/27/2012. (Ordered by Judge Jorge A Solis on 1/18/2012) (chmb)
                     (Entered: 01/19/2012)
 01/20/2012   61     Second MOTION in Limine Re Civil Settlement filed by USA as to Michael
                     Musacchio, John Michael Kelly (Groves−DOJ, Linda) (Entered: 01/20/2012)
 01/20/2012   62     Third MOTION in Limine Re G−C Partners filed by USA as to Michael
                     Musacchio, John Michael Kelly (Groves−DOJ, Linda) (Entered: 01/20/2012)
 01/20/2012   63     Fourth MOTION in Limine Re Counterclaim filed by USA as to Michael
                     Musacchio, John Michael Kelly (Attachments: # 1 Exhibit(s), # 2 Exhibit(s))
                     (Groves−DOJ, Linda) (Entered: 01/20/2012)
 01/20/2012   64     MOTION for Release of Brady Materials filed by Michael Musacchio
                     (Attachments: # 1 Proposed Order) (Ethington, Jay) (Entered: 01/20/2012)
 01/20/2012   65     MOTION for Daubert Hearing filed by Michael Musacchio (Attachments: # 1
                     Proposed Order) (Ethington, Jay) Modified text on 1/23/2012 (bdg). (Entered:
                     01/20/2012)
 01/20/2012   66     MOTION to Suppress Evidence filed by Michael Musacchio (Attachments: #
                     1 Proposed Order, # 2 Exhibit(s)) (Ethington, Jay) Modified text on 1/23/2012
                     (bdg). (Entered: 01/20/2012)
 01/20/2012   67     MOTION to Continue filed by Michael Musacchio (Attachments: # 1
                     Proposed Order) (Ethington, Jay) (Entered: 01/20/2012)
 01/24/2012   68     NOTICE OF ATTORNEY APPEARANCE by N Henry Simpson, III
                     appearing for Michael Musacchio (Simpson, N) (Entered: 01/24/2012)
 01/26/2012   70     Unopposed MOTION for Protective Order filed by USA as to Michael
                     Musacchio, John Michael Kelly (Groves−DOJ, Linda) (Entered: 01/26/2012)
 01/27/2012   71     RESPONSE by USA as to Michael Musacchio, John Michael Kelly re: 64
                     MOTION for Release of Brady Materials (Groves−DOJ, Linda) (Entered:
                     01/27/2012)
 01/27/2012   72     RESPONSE by USA as to Michael Musacchio, John Michael Kelly re: 65
                     MOTION for Daubert Hearing (Groves−DOJ, Linda) (Entered: 01/27/2012)
 01/27/2012   73     RESPONSE by USA as to Michael Musacchio, John Michael Kelly re: 66
                     MOTION to Suppress (Groves−DOJ, Linda) (Entered: 01/27/2012)
 01/30/2012   75     ORDER granting 70 Motion for Protective Order as to Michael Musacchio (1)
                     and John Michael Kelly (3). (Ordered by Judge Jorge A Solis on 1/30/2012)
                     (chmb) (Entered: 02/02/2012)

                                                                                                     7
Case 3:10-cr-00308-P Document 270 Filed 11/30/18            Page 8 of 87 PageID 5589


 02/01/2012   74     RESPONSE by USA as to Michael Musacchio, John Michael Kelly re: 67
                     MOTION to Continue, 69 MOTION to Continue Trial and Associated Dates
                     (Groves−DOJ, Linda) (Entered: 02/01/2012)
 02/02/2012   77     ORDER granting 67 , 69 Motions to Continue as to Michael Musacchio, John
                     Michael Kelly. Trial reset for 4/16/2012 before Judge Jorge A Solis. Pretrial
                     Materials due by 3/30/2012. Pretrial Conference set for 4/4/2012 03:00 PM
                     before Judge Jorge A Solis. (Ordered by Judge Jorge A Solis on 2/2/2012)
                     (axm) (Entered: 02/06/2012)
 02/03/2012   76     Government's MOTION for Limited Unsealing and MOTION for Protective
                     Order filed by USA as to Michael Musacchio, Joseph Roy Brown, John
                     Michael Kelly (Groves−DOJ, Linda). Added MOTION for Protective Order
                     on 2/6/2012 (twd). (Entered: 02/03/2012)
 02/06/2012   78     ORDER granting 76 Government's Motion to Unseal and for Protective Order
                     as to Michael Musacchio (1), Joseph Roy Brown (2), John Michael Kelly (3):
                     The Plea Agreement, Plea Agreement Supplement, and Factual Resume are
                     unsealed for the limited purpose of permitting the Government to provide
                     copies in discovery, and that the parties shall limit use of those pleadings to
                     trial purposes only. (Ordered by Judge Jorge A Solis on 2/6/2012) (axm)
                     (Entered: 02/07/2012)
 02/21/2012   79     ELECTRONIC NOTICE as to Michael Musacchio, John Michael Kelly:
                     Pretrial Motions due by 3/9/2012 and Responses due by 3/16/2012. (these
                     dates were inadvertently left off the most recent scheduling order.) (chmb)
                     (Entered: 02/21/2012)
 03/09/2012   89     MOTION for Reciprocal Discovery filed by USA as to Michael Musacchio,
                     John Michael Kelly with Brief/Memorandum in Support. (Groves−DOJ,
                     Linda) Modified on 3/12/2012 (skt). (Entered: 03/09/2012)
 03/15/2012   91     Amended Expert Witness Summary filed by USA as to Michael Musacchio,
                     John Michael Kelly (Attachments: # 1 Exhibit(s) CV of Special Agent Lynd)
                     (Groves−DOJ, Linda) Modified on 3/16/2012 (skt). (Entered: 03/15/2012)
 05/31/2012   94     Agreed MOTION for Protective Order (Agreed Discovery Protective Order)
                     filed by USA as to Michael Musacchio, John Michael Kelly (Groves−DOJ,
                     Linda) (Entered: 05/31/2012)
 06/17/2012   95     ORDER granting 94 Agreed Motion for Protective Order as to Michael
                     Musacchio (1), John Michael Kelly (3). (Ordered by Judge Jorge A Solis on
                     6/17/2012) (chmb) (Entered: 06/18/2012)
 06/18/2012   96     ORDER as to Michael Musacchio and John Michael Kelly: Pretrial
                     Conference set for 9/5/2012 4:00 PM before Judge Jorge A Solis. Jury Trial
                     set for 9/17/2012 8:45 AM in US Courthouse, Courtroom 1632, 1100
                     Commerce St., Dallas, TX 75242−1310 before Judge Jorge A Solis. Pretrial
                     Materials due by 8/31/2012. (Ordered by Judge Jorge A Solis on 6/18/2012)
                     (chmb) (Entered: 06/18/2012)
 06/18/2012   97     Notice of Correction of Signature Omission, correcting signature omission in
                     32 Sealed and/or Ex Parte Motion by USA as to Michael Musacchio, Joseph
                     Roy Brown, John Michael Kelly. (Groves−DOJ, Linda) (Entered: 06/18/2012)
 07/03/2012   103
                                                                                                       8
Case 3:10-cr-00308-P Document 270 Filed 11/30/18           Page 9 of 87 PageID 5590


                     ***WITHDRAWN PER ORDER/DOCUMENT #124***Unopposed
                     MOTION for Discovery Gov. Unopposed Motion For Order Requiring
                     NTRFCL To Image SMART Disk For Discovery Purposes filed by USA as to
                     Michael Musacchio, John Michael Kelly (Groves−DOJ, Linda) Modified on
                     8/21/2012 (skt). (Entered: 07/03/2012)
 07/12/2012   104    ORDER granting 89 Motion for Discovery as to Michael Musacchio (1), John
                     Michael Kelly (3). Defendant's to provide the Government with reciprocal
                     discovery requested by July 26, 2012. (Ordered by Judge Jorge A Solis on
                     7/12/2012) (chmb) (Entered: 07/12/2012)
 07/23/2012   105    ORDER as to Michael Musacchio, John Michael Kelly: Evidentiary Hearing
                     set for 8/2/2012 9:00 AM in US Courthouse, Courtroom 1632, 1100
                     Commerce St., Dallas, TX 75242−1310 before Judge Jorge A Solis on.
                     (Ordered by Judge Jorge A Solis on 7/23/2012) (chmb) Modified on 7/25/2012
                     (chmb). (Entered: 07/24/2012)
 08/01/2012   106    SUPPLEMENTAL MEMORANDUM in support re 73 Response to 66
                     Motion to Suppress by USA as to Michael Musacchio. (Groves−DOJ, Linda)
                     Docket linkage and text modified on 8/2/2012 (twd). (Entered: 08/01/2012)
 08/01/2012   111    Brief/Memorandum in Support by Michael Musacchio re 65 MOTION To be
                     granted Daubert Hearing (Ethington, Jay) (Entered: 08/01/2012)
 08/02/2012          ELECTRONIC Minute Entry for proceedings held before Judge Jorge A Solis:
                     Motions Hearing as to Michael Musacchio held on 8/2/2012. Hearing RESET
                     for August 8, 2012 at 9:00 a.m. Attorney Appearances: AUSA − Linda
                     Groves; Richard Green; Defense − Jay Ethington. (Court Reporter: Shawn
                     McRoberts) (No exhibits) Time in Court − :20. (chmb) (Entered: 08/02/2012)
 08/02/2012   114    ORDER as to Michael Musacchio: Motion Hearing set for 8/8/2012 09:00 AM
                     in US Courthouse, Courtroom 1632, 1100 Commerce St., Dallas, TX
                     75242−1310 before Judge Jorge A Solis. (Ordered by Judge Jorge A Solis on
                     8/2/2012) (chmb) (Entered: 08/02/2012)
 08/06/2012   116    NOTICE OF ATTORNEY APPEARANCE by Candina S Heath−DOJ
                     appearing for USA as Co−Counsel (Heath−DOJ, Candina) (Entered:
                     08/06/2012)
 08/06/2012   117    Unopposed MOTION to Continue Pretrial Evidentiary Hearing filed by USA
                     as to Michael Musacchio (Groves−DOJ, Linda) (Entered: 08/06/2012)
 08/06/2012   119    ORDER granting 117 Motion to Continue Evidentiary Hearing set 8/8/2012
                     without date as to Michael Musacchio (1). Hearing to be rest by subsequent
                     order of the Court. (Ordered by Judge Jorge A Solis on 8/6/2012) (chmb)
                     (Entered: 08/06/2012)
 08/07/2012   121    ELECTRONIC NOTICE as to Michael Musacchio: Evidentiary Hearing
                     RESET for 8/15/2012 9:00 AM in US Courthouse, Courtroom 1632, 1100
                     Commerce St., Dallas, TX 75242−1310 before Judge Jorge A Solis. (chmb)
                     (Entered: 08/07/2012)
 08/14/2012   123    RESPONSE by USA as to Michael Musacchio re: 111 Brief/Memorandum in
                     Support of Motion (Groves−DOJ, Linda) (Entered: 08/14/2012)
 08/14/2012

                                                                                                  9
Case 3:10-cr-00308-P Document 270 Filed 11/30/18           Page 10 of 87 PageID 5591


                      ELECTRONIC Minute Entry for proceedings held before Judge Jorge A Solis:
                      Motion Hearing as to Michael Musacchio held on 8/14/2012 re Referred
                      Motion from case 09−CV−1465 Motion for Leave to File Motion To Obtain
                      Subpoenaed Records. Taken under advisement. Attorney Appearances: AUSA
                      − Linda Groves; Richard Green; Defense − Karen Cook. (Court Reporter:
                      Shawn McRoberts) (No exhibits) Time in Court − :30. (chmb) (Entered:
                      08/14/2012)
 08/17/2012   124     MOTION to Withdraw Document 103 Unopposed MOTION for Discovery
                      Gov. Unopposed Motion For Order Requiring NTRFCL To Image SMART
                      Disk For Discovery Purposes filed by USA as to Michael Musacchio
                      (Groves−DOJ, Linda) (Entered: 08/17/2012)
 08/17/2012   125     ORDER granting 124 Motion to Withdraw Document 103 Motion for Order as
                      to Michael Musacchio (1) and John Michael Kelly (3). (Ordered by Judge
                      Jorge A Solis on 8/17/2012) (chmb) (Entered: 08/21/2012)
 08/27/2012   126     ELECTRONIC NOTICE as to Michael Musacchio: Jury Trial RESET for
                      9/24/2012 8:45 AM in US Courthouse, Courtroom 1632, 1100 Commerce St.,
                      Dallas, TX 75242−1310 before Judge Jorge A Solis. (chmb) (Entered:
                      08/27/2012)
 08/28/2012   127     ELECTRONIC NOTICE as to Michael Musacchio: Pretrial Materials are now
                      due by 9/7/2012. Pretrial Conference RESET for 9/12/2012 03:00 PM before
                      Judge Jorge A Solis. (chmb) (Entered: 08/28/2012)
 09/06/2012   128     SUPERSEDING INDICTMENT as to Michael Musacchio (1) count(s) 1s,
                      2s−3s. (axm) (Entered: 09/07/2012)
 09/07/2012   129     Proposed Voir Dire by Michael Musacchio (Ethington, Jay) (Entered:
                      09/07/2012)
 09/07/2012   130     Proposed Voir Dire by USA as to Michael Musacchio (Groves−DOJ, Linda)
                      (Entered: 09/07/2012)
 09/07/2012   131     Proposed Jury Instructions filed by USA as to Michael Musacchio
                      (Groves−DOJ, Linda) (Entered: 09/07/2012)
 09/07/2012   132     WITNESS LIST by USA as to Michael Musacchio (Groves−DOJ, Linda)
                      (Entered: 09/07/2012)
 09/07/2012   133     EXHIBIT LIST by USA as to Michael Musacchio (Groves−DOJ, Linda)
                      (Entered: 09/07/2012)
 09/07/2012   134     Proposed Jury Instructions filed by Michael Musacchio (Ethington, Jay)
                      (Entered: 09/07/2012)
 09/07/2012   135     WITNESS LIST by Michael Musacchio (Ethington, Jay) (Entered:
                      09/07/2012)
 09/07/2012   136     NOTICE Gov. Amended Notice of Experts and Witnesses With Expertise re: 55
                      Designation of Experts filed by USA as to Michael Musacchio (Groves−DOJ,
                      Linda) (Entered: 09/07/2012)
 09/07/2012   137     EXHIBIT LIST by Michael Musacchio (Ethington, Jay) (Entered: 09/07/2012)
 09/08/2012   138

                                                                                                  10
Case 3:10-cr-00308-P Document 270 Filed 11/30/18            Page 11 of 87 PageID 5592


                       MOTION to Continue Trial Setting filed by Michael Musacchio (Attachments:
                       # 1 Proposed Order) (Ethington, Jay) (Entered: 09/08/2012)
 09/10/2012   139      MOTION Notice of Alibi Defense & Defense Witness Prior Statements filed
                       by USA as to Michael Musacchio (Groves−DOJ, Linda) (Entered:
                       09/10/2012)
 09/10/2012   140      WAIVER by Michael Musacchio (Ethington, Jay) (Entered: 09/10/2012)
 09/12/2012            ELECTRONIC Minute Entry for proceedings held before Judge Jorge A Solis:
                       Pretrial Conference as to Michael Musacchio held on 9/12/2012. Attorney
                       Appearances: AUSA − Linda Groves; Richard Green; Defense − Jay
                       Ethington; Reid Manning; Bill Dunne. (Court Reporter: Shawn McRoberts)
                       (No exhibits) Time in Court − :30. (chmb) (Entered: 09/12/2012)
 09/13/2012   141      ORDER granting 138 Motion to Continue as to Michael Musacchio (1):
                       Pretrial Conference RESET for 11/14/2012 03:00 PM before Judge Jorge A
                       Solis. Jury Trial RESET for 11/26/2012 08:45 AM in US Courthouse,
                       Courtroom 1632, 1100 Commerce St., Dallas, TX 75242−1310 before Judge
                       Jorge A Solis. Pretrial Materials due by 11/9/2012. (Ordered by Judge Jorge A
                       Solis on 9/13/2012) (chmb) (Entered: 09/17/2012)
 09/26/2012   142      ORDER as to Michael Musacchio: Pretrial Conference RESET for 2/6/2013
                       03:00 PM before Judge Jorge A Solis. Jury Trial RESET for 2/19/2013 08:45
                       AM in US Courthouse, Courtroom 1632, 1100 Commerce St., Dallas, TX
                       75242−1310 before Judge Jorge A Solis. Pretrial Materials due by 2/1/2013.
                       (Ordered by Judge Jorge A Solis on 9/26/2012) (chmb) (Entered: 09/27/2012)
 01/08/2013   145   56 SECOND SUPERSEDING INDICTMENT as to Michael Musacchio (1)
                       count(s) 1ss, 2ss−3ss. (jrr) (Entered: 01/09/2013)
 01/22/2013   147      WAIVER by Michael Musacchio (Ethington, Jay) (Entered: 01/22/2013)
 01/29/2013   148      MOTION in Limine Re Alibi Defense and Court Ordered Reciprocal
                       Discovery filed by USA as to Michael Musacchio (Groves−DOJ, Linda)
                       (Entered: 01/29/2013)
 02/01/2013   149      MOTION in Limine To Exclude Evidence of Criminal Conviction filed by
                       USA as to Michael Musacchio (Groves−DOJ, Linda) (Entered: 02/01/2013)
 02/01/2013   150      EXHIBIT LIST by USA as to Michael Musacchio (Groves−DOJ, Linda)
                       (Entered: 02/01/2013)
 02/01/2013   151      AMENDED WITNESS LIST by USA as to Michael Musacchio
                       (Groves−DOJ, Linda) Modified on 2/4/2013 (jgf). (Entered: 02/01/2013)
 02/01/2013   152      Proposed Amended Jury Instructions filed by USA as to Michael Musacchio
                       (Groves−DOJ, Linda) Modified on 2/4/2013 (jgf). (Entered: 02/01/2013)
 02/01/2013   153      Designation of Experts by USA (Groves−DOJ, Linda) (Entered: 02/01/2013)
 02/01/2013   154      Proposed Additional Jury Instructions filed by Michael Musacchio (Ethington,
                       Jay) Modified on 2/4/2013 (jgf). (Entered: 02/01/2013)
 02/05/2013   155      Amended MOTION in Limine Re Criminal Conviction & Other Evidence
                       filed by USA as to Michael Musacchio (Groves−DOJ, Linda) (Entered:
                       02/05/2013)

                                                                                                       11
Case 3:10-cr-00308-P Document 270 Filed 11/30/18           Page 12 of 87 PageID 5593


 02/06/2013   156     EXHIBIT LIST by Michael Musacchio (Ethington, Jay) (Entered: 02/06/2013)
 02/06/2013           ELECTRONIC Minute Entry for proceedings held before Judge Jorge A Solis:
                      Pretrial Conference as to Michael Musacchio held on 2/6/2013. Attorney
                      Appearances: AUSA − Linda Groves; Richard Green; Candina Heath; Defense
                      − Jay Ethington: Reed Manning. (Court Reporter: Randy Wilson) (No
                      exhibits) Time in Court − :30. (chmb) (Entered: 02/06/2013)
 02/15/2013   157     MOTION in Limine Exclude Witness Deferred Adjudication filed by USA as
                      to Michael Musacchio (Groves−DOJ, Linda) (Entered: 02/15/2013)
 02/16/2013   158     EXHIBIT LIST by USA as to Michael Musacchio (Groves−DOJ, Linda)
                      (Entered: 02/16/2013)
 02/18/2013   159     Proposed Voir Dire by USA as to Michael Musacchio (Groves−DOJ, Linda)
                      (Entered: 02/18/2013)
 02/18/2013   160     EXHIBIT LIST by USA as to Michael Musacchio (Groves−DOJ, Linda)
                      (Entered: 02/18/2013)
 02/19/2013   161     ***Jury Roll as to Michael Musacchio. (axm) (Entered: 02/19/2013)
 02/19/2013           ELECTRONIC Minute Entry for proceedings held before Judge Jorge A Solis:
                      Jury Selection held and Jury trial begun on as to Michael Musacchio held on
                      2/19/2013. Attorney Appearances: AUSA − Linda Groves; Richard Green;
                      Candina Heath; Defense − Jay Ethington: Reed Manning. (Court Reporter:
                      Shawn McRoberts) (Exhibits admitted − returned to party) Time in Court −
                      5:30. (chmb) (Entered: 02/20/2013)
 02/20/2013           ELECTRONIC Minute Entry for proceedings held before Judge Jorge A Solis:
                      Second day of Jury Trial as to Michael Musacchio held on 2/20/2013.
                      Attorney Appearances: AUSA − Linda Groves; Richard Green; Candina
                      Heath; Defense − Jay Ethington: Reed Manning. (Court Reporter: Shawn
                      McRoberts) (Exhibits admitted − returned to party) Time in Court − 6:10.
                      (chmb) (Entered: 02/21/2013)
 02/21/2013           ELECTRONIC Minute Entry for proceedings held before Judge Jorge A Solis:
                      Third day of Jury Trial as to Michael Musacchio held on 2/21/2013. Attorney
                      Appearances: AUSA − Linda Groves; Richard Green; Candina Heath; Defense
                      − Jay Ethington: Reed Manning. (Court Reporter: Shawn McRoberts)
                      (Exhibits admitted − returned to party) Time in Court − 6:45. (chmb) (Entered:
                      02/22/2013)
 02/22/2013           ELECTRONIC Minute Entry for proceedings held before Judge Jorge A Solis:
                      Fourth day of Jury Trial as to Michael Musacchio held on 2/22/2013. Attorney
                      Appearances: AUSA − Linda Groves; Richard Green; Candina Heath; Defense
                      − Jay Ethington: Reed Manning. (Court Reporter: Shawn McRoberts)
                      (Exhibits admitted − returned to party) Time in Court − 6:45. (chmb) (Entered:
                      02/27/2013)
 02/24/2013   162     Defendant's Second Amended Proposed Jury Instructions filed by Michael
                      Musacchio (Ethington, Jay) (Entered: 02/24/2013)
 02/25/2013           ELECTRONIC Minute Entry for proceedings held before Judge Jorge A Solis:
                      Fifth day of Jury Trial as to Michael Musacchio held on 2/25/2013. Attorney
                      Appearances: AUSA − Linda Groves; Richard Green; Candina Heath; Defense

                                                                                                       12
Case 3:10-cr-00308-P Document 270 Filed 11/30/18           Page 13 of 87 PageID 5594


                      − Jay Ethington: Reed Manning. (Court Reporter: Shawn McRoberts) (No
                      exhibits) Time in Court − 3:15. (chmb) (Entered: 02/27/2013)
 02/26/2013   163     Proposed Jury Instructions filed by USA as to Michael Musacchio
                      (Groves−DOJ, Linda) (Entered: 02/26/2013)
 02/26/2013   164     MOTION for Acquittal Pursuant to Fed. R. Crim. P. 29 filed by Michael
                      Musacchio with Brief/Memorandum in Support. (Ethington, Jay) (Entered:
                      02/26/2013)
 02/26/2013           ELECTRONIC Minute Entry for proceedings held before Judge Jorge A Solis:
                      Sixth day of Jury Trial as to Michael Musacchio held on 2/26/2013. Attorney
                      Appearances: AUSA − Linda Groves; Richard Green; Candina Heath; Defense
                      − Jay Ethington: Reed Manning. (Court Reporter: Shawn McRoberts)
                      (Exhibits admitted − returned to party) Time in Court − 7:15. (chmb) (Entered:
                      02/27/2013)
 02/27/2013           ELECTRONIC Minute Entry for proceedings held before Judge Jorge A Solis:
                      Seventh Day of Jury Trial as to Michael Musacchio held on 2/27/2013. Jury
                      Charge Conference held 5:15 p.m to 5:45 p.m. Attorney Appearances: AUSA
                      − Linda Groves; Richard Green; Candina Heath; Defense − Jay Ethington:
                      Reed Manning. (Court Reporter: Shawn McRoberts) (Exhibits admitted −
                      returned to party) Time in Court − 6:30. (chmb) (Entered: 02/28/2013)
 02/28/2013   165     NOTICE OF ATTORNEY APPEARANCE by Reid Manning appearing for
                      Michael Musacchio (Filer confirms contact info in ECF is current.) (Manning,
                      Reid) (Entered: 02/28/2013)
 02/28/2013           ELECTRONIC Minute Entry for proceedings held before Judge Jorge A Solis:
                      Eighth Day of Jury Trial as to Michael Musacchio held on 2/28/2013.
                      Evidence concluded. Closing Arguments and Jury Charge. Case submitted to
                      the jury for deliberation. Attorney Appearances: AUSA − Linda Groves,
                      Richard Green, Candina Heath; Defense − Jay Ethington, Reed Manning.
                      (Court Reporter: Shawn McRoberts) (Exhibits admitted − returned to party)
                      Time in Court − 4:45. (chmb) (Entered: 03/01/2013)
 02/28/2013   167     Certification of Trial Exhibits for Jury Deliberations filed by USA and
                      Michael Musacchio as to Michael Musacchio. (Ordered by Judge Jorge A
                      Solis on 2/28/2013) (chmb) (Entered: 03/04/2013)
 03/01/2013           ELECTRONIC Minute Entry for proceedings held before Judge Jorge A Solis:
                      Ninth Day of Jury Trial as to Michael Musacchio held on 3/1/2013. Jury
                      continued deliberations. Jury Verdict Rendered − Guilty on Counts 1, 2 and 3.
                      Defendant continued on Pretrial Release. Attorney Appearances: AUSA −
                      Linda Groves, Richard Green, Candina Heath; Defense − Jay Ethington, Reed
                      Manning. (Court Reporter: Shawn McRoberts) (No exhibits) Time in Court −
                      5:00. (chmb) (Entered: 03/04/2013)
 03/01/2013   166     Jury Charge and Verdict Form as to Michael Musacchio. Jury Charge Signed
                      by Judge Jorge A Solis on 2/28/2013. (chmb) (Entered: 03/04/2013)
 03/01/2013   168     ORDER as to Michael Musacchio releasing all trial exhibits to counsel for the
                      parties. (Ordered by Judge Jorge A Solis on 3/1/2013) (chmb) (Entered:
                      03/04/2013)
 03/01/2013   169
                                                                                                       13
Case 3:10-cr-00308-P Document 270 Filed 11/30/18           Page 14 of 87 PageID 5595


                      Sentencing Scheduling Order as to Michael Musacchio: Presentence
                      Investigation Report due by 5/3/2013. Objections to Presentence Investigation
                      Report due by 5/17/2013. Presentence Investigation Addendum due by
                      5/24/2013. Objections to Presentence Investigation Addendum due by
                      5/31/2013. Sentencing set for 6/14/2013 1:30 PM in US Courthouse,
                      Courtroom 1632, 1100 Commerce St., Dallas, TX 75242−1310 before Judge
                      Jorge A Solis. (Ordered by Judge Jorge A Solis on 3/1/2013) (chmb) (Entered:
                      03/04/2013)
 03/15/2013   170     MOTION New Trial filed by Michael Musacchio (Attachments: # 1 Exhibit(s)
                      Exhibit A, # 2 Exhibit(s) Exhibit B) (Ethington, Jay) (Entered: 03/15/2013)
 03/15/2013   171     MOTION Seal an Exhibit re 170 MOTION New Trial filed by USA as to
                      Michael Musacchio (Groves−DOJ, Linda) (Entered: 03/15/2013)
 03/18/2013   172     ELECTRONIC NOTICE as to Michael Musacchio: Sentencing RESET for
                      6/12/2013 1:30 PM in US Courthouse, Courtroom 1632, 1100 Commerce St.,
                      Dallas, TX 75242−1310 before Judge Jorge A Solis. (chmb) (Entered:
                      03/18/2013)
 03/25/2013   173     RESPONSE by USA as to Michael Musacchio re: 170 MOTION New Trial
                      (Groves−DOJ, Linda) (Entered: 03/25/2013)
 04/24/2013   175     MOTION to Continue Sentencing Hearing filed by Michael Musacchio
                      (Attachments: # 1 Proposed Order) (Ethington, Jay) (Entered: 04/24/2013)
 05/02/2013   176     RESPONSE by USA as to Michael Musacchio re: 175 MOTION to Continue
                      Sentencing Hearing (Groves−DOJ, Linda) (Entered: 05/02/2013)
 05/21/2013   177     ORDER granting 175 Motion to Continue as to Michael Musacchio (1)
                      Sentencing RESET for 7/3/2013 1:30 PM in US Courthouse, Courtroom 1632,
                      1100 Commerce St., Dallas, TX 75242−1310 before Judge Jorge A Solis.
                      (Ordered by Judge Jorge A Solis on 5/21/2013) (chmb) (Entered: 05/22/2013)
 05/23/2013   178     ORDER as to Michael Musacchio: Presentence Investigation Report due by
                      6/5/2013. Objections to Presentence Investigation Report due by 6/12/2013.
                      Presentence Investigation Addendum due by 6/19/2013. Objections to
                      Presentence Investigation Addendum due by 6/26/2013. Sentencing set for
                      7/3/2013 01:30 PM in US Courthouse, Courtroom 1632, 1100 Commerce St.,
                      Dallas, TX 75242−1310 before Judge Jorge A Solis. (Ordered by Judge Jorge
                      A Solis on 5/23/2013) (chmb) (Entered: 05/23/2013)
 06/20/2013   183     MOTION to Continue Sentencing amd Restitution Hearing filed by Michael
                      Musacchio with Brief/Memorandum in Support. (Attachments: # 1 Proposed
                      Order) (Ethington, Jay) (Entered: 06/20/2013)
 06/21/2013   184     RESPONSE by USA as to Michael Musacchio re: 183 MOTION to Continue
                      Sentencing amd Restitution Hearing (Groves−DOJ, Linda) (Entered:
                      06/21/2013)
 06/25/2013   185     ORDER denying 183 Motion to Continue Sentencing as to Michael
                      Musacchio (1). (Ordered by Judge Jorge A Solis on 6/25/2013) (chmb)
                      (Entered: 06/25/2013)
 07/02/2013   188     MOTION for Downward Departure filed by Michael Musacchio
                      (Attachments: # 1 Proposed Order) (Ethington, Jay) (Entered: 07/02/2013)

                                                                                                      14
Case 3:10-cr-00308-P Document 270 Filed 11/30/18            Page 15 of 87 PageID 5596


 07/03/2013   191     ELECTRONIC Minute Entry for proceedings held before Judge Jorge A Solis:
                      Sentencing Hearing held on 7/3/2013 for Michael Musacchio − continued date
                      to be determined. Attorney Appearances: AUSA − Linda Groves, Richard
                      Green, Candina Heath; Defense − Jay Ethington, Reed Manning: Camille
                      Knight. (Court Reporter: Shawn McRoberts) (Exhibits admitted) Time in
                      Court − 3:00. (chmb) (Entered: 07/03/2013)
 07/18/2013   193     MOTION to Continue Sentencing Hearings for Brown and Kelly filed by USA
                      as to Michael Musacchio, Joseph Roy Brown, John Michael Kelly
                      (Groves−DOJ, Linda) (Entered: 07/18/2013)
 07/23/2013   194     ELECTRONIC NOTICE as to Michael Musacchio: Continuation of
                      Sentencing set for 8/20/2013 9:00 AM in US Courthouse, Courtroom 1632,
                      1100 Commerce St., Dallas, TX 75242−1310 before Judge Jorge A Solis.
                      (chmb) Modified year for sentencing date on 7/23/2013 (ctf). (Entered:
                      07/23/2013)
 08/06/2013   197     ELECTRONIC ORDER as to Michael Musacchio: Due to Court scheduling
                      conflict Sentencing RESET for 9/5/2013 1:30 PM in US Courthouse,
                      Courtroom 1632, 1100 Commerce St., Dallas, TX 75242−1310 before Judge
                      Jorge A Solis. (Ordered by Judge Jorge A Solis on 8/6/2013) (chmb) (Entered:
                      08/06/2013)
 08/29/2013   199     Supplemental MOTION for Judgment of Acquittal Pursuant to Federal Rule of
                      Criminal Procedure 29 filed by Michael Musacchio. (Ethington, Jay) Modified
                      on 8/30/2013 (skt). (Entered: 08/29/2013)
 08/29/2013   200     Courtesy copy of correspondence re Sentencing Hearing Response as to
                      Michael Musacchio (Attachments: # 1 Additional Page(s) Attachment, # 2
                      Additional Page(s) Attachment) (Ethington, Jay) Modified on 8/30/2013 (skt).
                      (Entered: 08/29/2013)
 08/30/2013   201     NOTICE Letter to Court as to Michael Musacchio (Ethington, Jay) (Entered:
                      08/30/2013)
 08/30/2013   203     RESPONSE AND OBJECTION by USA as to Michael Musacchio re: 199
                      Supplemental MOTION for Judgment of Acquittal Pursuant to Federal Rule of
                      Criminal Procedure 29 (Groves−DOJ, Linda) (Entered: 08/30/2013)
 09/02/2013   205     MOTION for Downward Departure or Variance filed by Michael Musacchio
                      (Attachments: # 1 Exhibit(s)) (Ethington, Jay) (Entered: 09/02/2013)
 09/05/2013   206     ELECTRONIC Minute Entry for proceedings held before Judge Jorge A Solis:
                      Sentencing held on 9/5/2013 for Michael Musacchio (1) BOP for a term of
                      Sixty (60) Months as to Counts 1 and 2 to run concurrent; Three (3) Months as
                      to Count 3 to run consecutive to Counts 1 and 2 for a total of Sixty−three (63)
                      Months; Supervised Release for Three (3) years as to each Count to run
                      concurrent for a total of Three (3) years. Restitution to be determined; MSA
                      $100 per count for a total of $300.00. Defendant continued on Pretrial Release
                      Voluntary Surrender date to be determined. Remaining issue of restitution to
                      be briefed by counsel, briefs due 10/4/2013. Attorney Appearances: AUSA −
                      Linda Groves, Candina Heath; Defense − Jay Ethington, Reed Manning:
                      Camille Knight. (Court Reporter: Shawn McRoberts) (Exhibits admitted)
                      Time in Court − 4:30. (chmb) Modified on 12/5/2013 to correct the file date
                      (svc). (Entered: 09/06/2013)

                                                                                                        15
Case 3:10-cr-00308-P Document 270 Filed 11/30/18              Page 16 of 87 PageID 5597


 10/04/2013   215       Brief/Memorandum in Support by Michael Musacchio re 204 Sentencing
                        Memorandum, (Attachments: # 1 Exhibit(s), # 2 Exhibit(s), # 3 Exhibit(s), # 4
                        Exhibit(s), # 5 Exhibit(s), # 6 Exhibit(s), # 7 Exhibit(s)) (Ethington, Jay)
                        (Entered: 10/04/2013)
 10/09/2013   216       MOTION for Release Pending Appeal filed by Michael Musacchio
                        (Attachments: # 1 Proposed Order) (Ethington, Jay) (Entered: 10/09/2013)
 10/10/2013   217       Certificate of Service by Michael Musacchio re 216 MOTION for Release
                        Pending Appeal (Ethington, Jay) (Entered: 10/10/2013)
 10/15/2013   218       RESPONSE by Michael Musacchio re: 214 Sealed and/or Ex Parte
                        Appendix/Brief/Memorandum in Support,, (Attachments: # 1 Exhibit(s) A)
                        (Ethington, Jay) (Entered: 10/15/2013)
 11/19/2013   220       ELECTRONIC ORDER granting 216 Motion for Release Pending Appeal as
                        to Michael Musacchio (1). All previous conditions of release are continued.
                        (Ordered by Judge Jorge A Solis on 11/19/2013) (chmb) (Entered:
                        11/19/2013)
 11/19/2013   221       Supplemental MOTION for Acquittal Second Supplement to the Motion for
                        Acquittal filed by Michael Musacchio (Ethington, Jay) (Entered: 11/19/2013)
 11/19/2013   222   81 JUDGMENT as to Michael Musacchio (1), Count(s) 1, 1s, 2s−3s,
                       DISMISSED per JS chambers; Count(s) 1ss, BOP for a term of Sixty (60)
                       Months as to Count 1; Supervised Release for Three (3) years as to Count 1;
                       Restitution to be Determined; MSA $100.00; Count(s) 2ss−3ss, BOP for a
                       term of Sixty Months as to Count 2 to run concurrent to Count 1; 3 Months as
                       to Count 3 to run consecutive to Counts 1 and 2; Supervised Release Three
                       years as to each Counts to run concurrent; Restitution to be determined; MSA
                       $100 per count. Pursuant to LR 79.2 and LCrR 55.2, exhibits may be claimed
                       during the 60−day period following final disposition (to do so, follow the
                       procedures found at www.txnd.uscourts.gov/Court Records). The clerk will
                       discard exhibits that remain unclaimed after the 60−day period without
                       additional notice. (Clerk to notice any party not electronically noticed.)
                       (Ordered by Judge Jorge A Solis on 11/19/2013) (ykp) (Entered: 11/20/2013)
 11/26/2013   224       NOTICE OF APPEAL to the Fifth Circuit as to 222 Judgment by Michael
                        Musacchio. Filing fee $455, receipt number 70759. T.O. form to appellant
                        electronically at Transcript Order Form or US Mail as appropriate. Copy of
                        NOA to be sent US Mail to parties not electronically noticed. (twd) (Entered:
                        11/26/2013)
 11/27/2013             Confirmation of receipt of payment from Kendall Law Group LLP in the
                        amount of $455.00. Transaction posted on 11/26/2013. Receipt number
                        DS070759 processed by yp. (ali) Lifted restriction on 11/27/2013 (ali).
                        (Entered: 11/27/2013)
 12/02/2013   225       RESPONSE AND OBJECTION by USA as to Michael Musacchio re: 199
                        Supplemental MOTION for Judgment of Acquittal Pursuant to Federal Rule of
                        Criminal Procedure 29, 221 Supplemental MOTION for Acquittal Second
                        Supplement to the Motion for Acquittal (Attachments: # 1 Exhibit(s)
                        Transcript of 1st Sent. Hrg.) (Groves−DOJ, Linda) (Entered: 12/02/2013)
 12/03/2013

                                                                                                        16
Case 3:10-cr-00308-P Document 270 Filed 11/30/18              Page 17 of 87 PageID 5598


                      USCA Case Number as to Michael Musacchio 13−11294 for 224 Notice of
                      Appeal, filed by Michael Musacchio. (svc) (Entered: 12/03/2013)
 12/03/2013   226     NOTICE OF ATTORNEY APPEARANCE by Elizabeth Hosea Lemoine
                      appearing for Michael Musacchio (Filer confirms contact info in ECF is
                      current.) (Lemoine, Elizabeth) (Entered: 12/03/2013)
 12/04/2013   227     Transcript Order Form: re 224 Notice of Appeal, transcript requested for Jury
                      TrialSentencing held on 2/19/2013−2/22/2013, 2/25/2013−2/28/2013,
                      3/1/2013, 7/3/2013, 9/5/2013 before Judge Solis. (Lemoine, Elizabeth)
                      (Entered: 12/04/2013)
 01/03/2014   228     Notice of Filing of Official Electronic Transcript of Motion to Quash
                      Proceedings as to Michael Musacchio held on 08/14/2012 before Judge Jorge
                      A. Solis. Court Reporter/Transcriber Shawn McRoberts, Telephone number
                      (214) 753−2349. Parties are notified of their duty to review the transcript. A
                      copy may be purchased from the court reporter or viewed at the clerk's office
                      public terminal. If redaction is necessary, a Redaction Request − Transcript
                      must be filed within 21 days. If no such Request is filed, the transcript will be
                      made available via PACER without redaction after 90 calendar days. If
                      redaction request filed, this transcript will not be accessible via PACER; see
                      redacted transcript. The clerk will mail a copy of this notice to parties not
                      electronically noticed. (25 pages) Redaction Request due 1/24/2014. Redacted
                      Transcript Deadline set for 2/3/2014. Release of Transcript Restriction set for
                      4/3/2014. (smm) (Entered: 01/03/2014)
 01/03/2014   229     Notice of Filing of Official Electronic Transcript of Motion to Suppres/Motion
                      in Limine Proceedings as to Michael Musacchio held on 08/15/2012 before
                      Judge Jorge A. Solis. Court Reporter/Transcriber Shawn McRoberts,
                      Telephone number (214) 753−2349. Parties are notified of their duty to review
                      the transcript. A copy may be purchased from the court reporter or viewed at
                      the clerk's office public terminal. If redaction is necessary, a Redaction
                      Request − Transcript must be filed within 21 days. If no such Request is filed,
                      the transcript will be made available via PACER without redaction after 90
                      calendar days. If redaction request filed, this transcript will not be accessible
                      via PACER; see redacted transcript. The clerk will mail a copy of this notice
                      to parties not electronically noticed. (112 pages) Redaction Request due
                      1/24/2014. Redacted Transcript Deadline set for 2/3/2014. Release of
                      Transcript Restriction set for 4/3/2014. (smm) (Entered: 01/03/2014)
 01/03/2014   230     Notice of Filing of Official Electronic Transcript of Trial Volume 1 of 8
                      Proceedings as to Michael Musacchio held on 02/19/2013 before Judge Jorge
                      A. Solis. Court Reporter/Transcriber Shawn McRoberts, Telephone number
                      (214) 753−2349. Parties are notified of their duty to review the transcript. A
                      copy may be purchased from the court reporter or viewed at the clerk's office
                      public terminal. If redaction is necessary, a Redaction Request − Transcript
                      must be filed within 21 days. If no such Request is filed, the transcript will be
                      made available via PACER without redaction after 90 calendar days. If
                      redaction request filed, this transcript will not be accessible via PACER; see
                      redacted transcript. The clerk will mail a copy of this notice to parties not
                      electronically noticed. (198 pages) Redaction Request due 1/24/2014.
                      Redacted Transcript Deadline set for 2/3/2014. Release of Transcript
                      Restriction set for 4/3/2014. (smm) (Entered: 01/03/2014)

                                                                                                          17
Case 3:10-cr-00308-P Document 270 Filed 11/30/18              Page 18 of 87 PageID 5599


 01/03/2014   231     Notice of Filing of Official Electronic Transcript of Trial Volume 2 of 8
                      Proceedings as to Michael Musacchio held on 02/20/2013 before Judge Jorge
                      A. Solis. Court Reporter/Transcriber Shawn McRoberts, Telephone number
                      (214) 753−2349. Parties are notified of their duty to review the transcript. A
                      copy may be purchased from the court reporter or viewed at the clerk's office
                      public terminal. If redaction is necessary, a Redaction Request − Transcript
                      must be filed within 21 days. If no such Request is filed, the transcript will be
                      made available via PACER without redaction after 90 calendar days. If
                      redaction request filed, this transcript will not be accessible via PACER; see
                      redacted transcript. The clerk will mail a copy of this notice to parties not
                      electronically noticed. (233 pages) Redaction Request due 1/24/2014.
                      Redacted Transcript Deadline set for 2/3/2014. Release of Transcript
                      Restriction set for 4/3/2014. (smm) (Entered: 01/03/2014)
 01/03/2014   232     Notice of Filing of Official Electronic Transcript of Trial Volume 3 of 8
                      Proceedings as to Michael Musacchio held on 02/21/2013 before Judge Jorge
                      A. Solis. Court Reporter/Transcriber Shawn McRoberts, Telephone number
                      (214) 753−2349. Parties are notified of their duty to review the transcript. A
                      copy may be purchased from the court reporter or viewed at the clerk's office
                      public terminal. If redaction is necessary, a Redaction Request − Transcript
                      must be filed within 21 days. If no such Request is filed, the transcript will be
                      made available via PACER without redaction after 90 calendar days. If
                      redaction request filed, this transcript will not be accessible via PACER; see
                      redacted transcript. The clerk will mail a copy of this notice to parties not
                      electronically noticed. (268 pages) Redaction Request due 1/24/2014.
                      Redacted Transcript Deadline set for 2/3/2014. Release of Transcript
                      Restriction set for 4/3/2014. (smm) (Entered: 01/03/2014)
 01/03/2014   233     Notice of Filing of Official Electronic Transcript of Trial Volume 4 of 8
                      Proceedings as to Michael Musacchio held on 02/22/2013 before Judge Jorge
                      A. Solis. Court Reporter/Transcriber Shawn McRoberts, Telephone number
                      (214) 753−2349. Parties are notified of their duty to review the transcript. A
                      copy may be purchased from the court reporter or viewed at the clerk's office
                      public terminal. If redaction is necessary, a Redaction Request − Transcript
                      must be filed within 21 days. If no such Request is filed, the transcript will be
                      made available via PACER without redaction after 90 calendar days. If
                      redaction request filed, this transcript will not be accessible via PACER; see
                      redacted transcript. The clerk will mail a copy of this notice to parties not
                      electronically noticed. (226 pages) Redaction Request due 1/24/2014.
                      Redacted Transcript Deadline set for 2/3/2014. Release of Transcript
                      Restriction set for 4/3/2014. (smm) (Entered: 01/03/2014)
 01/03/2014   234     Notice of Filing of Official Electronic Transcript of Trial Volume 5 of 8
                      Proceedings as to Michael Musacchio held on 02/25/2013 before Judge Jorge
                      A. Solis. Court Reporter/Transcriber Shawn McRoberts, Telephone number
                      (214) 753−2349. Parties are notified of their duty to review the transcript. A
                      copy may be purchased from the court reporter or viewed at the clerk's office
                      public terminal. If redaction is necessary, a Redaction Request − Transcript
                      must be filed within 21 days. If no such Request is filed, the transcript will be
                      made available via PACER without redaction after 90 calendar days. If
                      redaction request filed, this transcript will not be accessible via PACER; see
                      redacted transcript. The clerk will mail a copy of this notice to parties not
                      electronically noticed. (138 pages) Redaction Request due 1/24/2014.
                                                                                                          18
Case 3:10-cr-00308-P Document 270 Filed 11/30/18              Page 19 of 87 PageID 5600


                      Redacted Transcript Deadline set for 2/3/2014. Release of Transcript
                      Restriction set for 4/3/2014. (smm) (Entered: 01/03/2014)
 01/03/2014   235     Notice of Filing of Official Electronic Transcript of Volume 6 of 8
                      Proceedings as to Michael Musacchio held on 02/26/2013 before Judge Jorge
                      A. Solis. Court Reporter/Transcriber Shawn McRoberts, Telephone number
                      (214) 753−2349. Parties are notified of their duty to review the transcript. A
                      copy may be purchased from the court reporter or viewed at the clerk's office
                      public terminal. If redaction is necessary, a Redaction Request − Transcript
                      must be filed within 21 days. If no such Request is filed, the transcript will be
                      made available via PACER without redaction after 90 calendar days. If
                      redaction request filed, this transcript will not be accessible via PACER; see
                      redacted transcript. The clerk will mail a copy of this notice to parties not
                      electronically noticed. (247 pages) Redaction Request due 1/24/2014.
                      Redacted Transcript Deadline set for 2/3/2014. Release of Transcript
                      Restriction set for 4/3/2014. (smm) (Entered: 01/03/2014)
 01/03/2014   236     Notice of Filing of Official Electronic Transcript of Trial Volume 7 of 8
                      Proceedings as to Michael Musacchio held on 02/27/2013 before Judge Jorge
                      A. Solis. Court Reporter/Transcriber Shawn McRoberts, Telephone number
                      (214) 753−2349. Parties are notified of their duty to review the transcript. A
                      copy may be purchased from the court reporter or viewed at the clerk's office
                      public terminal. If redaction is necessary, a Redaction Request − Transcript
                      must be filed within 21 days. If no such Request is filed, the transcript will be
                      made available via PACER without redaction after 90 calendar days. If
                      redaction request filed, this transcript will not be accessible via PACER; see
                      redacted transcript. The clerk will mail a copy of this notice to parties not
                      electronically noticed. (225 pages) Redaction Request due 1/24/2014.
                      Redacted Transcript Deadline set for 2/3/2014. Release of Transcript
                      Restriction set for 4/3/2014. (smm) (Entered: 01/03/2014)
 01/03/2014   237     Notice of Filing of Official Electronic Transcript of Trial Volume 8 of 8
                      Proceedings as to Michael Musacchio held on 02/28/2013, 03/01/2013 before
                      Judge Jorge A. Solis. Court Reporter/Transcriber Shawn McRoberts,
                      Telephone number (214) 753−2349. Parties are notified of their duty to review
                      the transcript. A copy may be purchased from the court reporter or viewed at
                      the clerk's office public terminal. If redaction is necessary, a Redaction
                      Request − Transcript must be filed within 21 days. If no such Request is filed,
                      the transcript will be made available via PACER without redaction after 90
                      calendar days. If redaction request filed, this transcript will not be accessible
                      via PACER; see redacted transcript. The clerk will mail a copy of this notice
                      to parties not electronically noticed. (138 pages) Redaction Request due
                      1/24/2014. Redacted Transcript Deadline set for 2/3/2014. Release of
                      Transcript Restriction set for 4/3/2014. (smm) (Entered: 01/03/2014)
 01/03/2014   238     Notice of Filing of Official Electronic Transcript of Sentencing Part 1
                      Proceedings as to Michael Musacchio held on 07/03/2013 before Judge Jorge
                      A. Solis. Court Reporter/Transcriber Shawn McRoberts, Telephone number
                      (214) 753−2349. Parties are notified of their duty to review the transcript. A
                      copy may be purchased from the court reporter or viewed at the clerk's office
                      public terminal. If redaction is necessary, a Redaction Request − Transcript
                      must be filed within 21 days. If no such Request is filed, the transcript will be
                      made available via PACER without redaction after 90 calendar days. If

                                                                                                          19
Case 3:10-cr-00308-P Document 270 Filed 11/30/18              Page 20 of 87 PageID 5601


                      redaction request filed, this transcript will not be accessible via PACER; see
                      redacted transcript. The clerk will mail a copy of this notice to parties not
                      electronically noticed. (110 pages) Redaction Request due 1/24/2014.
                      Redacted Transcript Deadline set for 2/3/2014. Release of Transcript
                      Restriction set for 4/3/2014. (smm) Modified on 1/3/2014 (aaa). (Entered:
                      01/03/2014)
 01/03/2014   239     Notice of Filing of Official Electronic Transcript of Sentencing Part 2
                      Proceedings as to Michael Musacchio held on 09/05/2013 before Judge Jorge
                      A. Solis. Court Reporter/Transcriber Shawn McRoberts, Telephone number
                      (214) 753−2349. Parties are notified of their duty to review the transcript. A
                      copy may be purchased from the court reporter or viewed at the clerk's office
                      public terminal. If redaction is necessary, a Redaction Request − Transcript
                      must be filed within 21 days. If no such Request is filed, the transcript will be
                      made available via PACER without redaction after 90 calendar days. If
                      redaction request filed, this transcript will not be accessible via PACER; see
                      redacted transcript. The clerk will mail a copy of this notice to parties not
                      electronically noticed. (165 pages) Redaction Request due 1/24/2014.
                      Redacted Transcript Deadline set for 2/3/2014. Release of Transcript
                      Restriction set for 4/3/2014. (smm) (Entered: 01/03/2014)
 01/15/2014   240     Transcript Redaction Request in case as to Michael Musacchio re: 232 , 233 ,
                      234 Transcript filed by attorney Linda C Groves−DOJ (Groves−DOJ, Linda)
                      (Entered: 01/15/2014)
 01/16/2014   241     Redacted Transcript for remote electronic access in case as to Michael
                      Musacchio re: 232 Notice of Filing of Official Electronic Transcript of Trial
                      Volume 3 of 8 Proceedings as to Michael Musacchio held on 02/21/2013
                      before Judge Jorge A. Solis. Court Reporter/Transcriber Shawn McRoberts,
                      Telephone number (214) 753−2349. Parties are notified of their duty to review
                      the transcript. A copy may be purchased from the court reporter or viewed at
                      the clerk's office public terminal. If redaction is necessary, a Redaction
                      Request − Transcript must be filed within 21 days. If no such Request is filed,
                      the transcript will be made available via PACER without redaction after 90
                      calendar days. If redaction request filed, this transcript will not be accessible
                      via PACER; see redacted transcript. The clerk will mail a copy of this notice
                      to parties not electronically noticed. (268 pages) Redaction Request due
                      1/24/2014. Redacted Transcript Deadline set for 2/3/2014. Release of
                      Transcript Restriction set for 4/3/2014. (smm) (smm) (Entered: 01/16/2014)
 01/16/2014   242     Redacted Transcript for remote electronic access in case as to Michael
                      Musacchio re: 233 Notice of Filing of Official Electronic Transcript of Trial
                      Volume 4 of 8 Proceedings as to Michael Musacchio held on 02/22/2013
                      before Judge Jorge A. Solis. Court Reporter/Transcriber Shawn McRoberts,
                      Telephone number (214) 753−2349. Parties are notified of their duty to review
                      the transcript. A copy may be purchased from the court reporter or viewed at
                      the clerk's office public terminal. If redaction is necessary, a Redaction
                      Request − Transcript must be filed within 21 days. If no such Request is filed,
                      the transcript will be made available via PACER without redaction after 90
                      calendar days. If redaction request filed, this transcript will not be accessible
                      via PACER; see redacted transcript. The clerk will mail a copy of this notice
                      to parties not electronically noticed. (226 pages) Redaction Request due
                      1/24/2014. Redacted Transcript Deadline set for 2/3/2014. Release of

                                                                                                          20
Case 3:10-cr-00308-P Document 270 Filed 11/30/18             Page 21 of 87 PageID 5602


                      Transcript Restriction set for 4/3/2014. (smm) (smm) (Entered: 01/16/2014)
 01/16/2014   243     Redacted Transcript for remote electronic access in case as to Michael
                      Musacchio re: 234 Notice of Filing of Official Electronic Transcript of Trial
                      Volume 5 of 8 Proceedings as to Michael Musacchio held on 02/25/2013
                      before Judge Jorge A. Solis. Court Reporter/Transcriber Shawn McRoberts,
                      Telephone number (214) 753−2349. Parties are notified of their duty to review
                      the transcript. A copy may be purchased from the court reporter or viewed at
                      the clerk's office public terminal. If redaction is necessary, a Redaction
                      Request − Transcript must be filed within 21 days. If no such Request is filed,
                      the transcript will be made available via PACER without redaction after 90
                      calendar days. If redaction request filed, this transcript will not be accessible
                      via PACER; see redacted transcript. The clerk will mail a copy of this notice
                      to parties not electronically noticed. (138 pages) Redaction Request due
                      1/24/2014. Redacted Transcript Deadline set for 2/3/2014. Release of
                      Transcript Restriction set for 4/3/2014. (smm) (smm) (Entered: 01/16/2014)
 01/24/2014   246     Transcript Redaction Request in case as to Michael Musacchio re: 232 , 234
                      Transcripts filed by attorney Jody Lynn Rudman. (Document received by
                      certified mail and references ECF outage that occurred on Friday, 1/24/2014.)
                      (twd) (Entered: 01/27/2014)
 01/27/2014   244     ***WITHDRAWN per 249 order*** Transcript Redaction Request in case as
                      to Michael Musacchio re: 232 , 234 Transcript filed by attorney Joe Kendall
                      (Kendall, Joe) Modified on 1/28/2014 (chmb). (Entered: 01/27/2014)
 01/27/2014   245     ***WITHDRAWN per 249 order*** MOTION to Redact 232 , 233 , 231 ,
                      239 , 236 Transcript filed by Michael Musacchio with Brief/Memorandum in
                      Support. (Kendall, Joe) Modified on 1/28/2014 (chmb). (Entered: 01/27/2014)
 01/27/2014   248     MOTION to Withdraw Documents 244 Transcript Redaction Request and 245
                      MOTION to Redact 232 , 233 , 231 , 239 , 236 Transcript filed by Michael
                      Musacchio with Brief/Memorandum in Support. (Kendall, Joe) Modified on
                      1/28/2014 (svc). Modified on 1/28/2014 (chmb). (Entered: 01/27/2014)
 01/28/2014   249     ELECTRONIC ORDER granting 248 Motion to Withdraw Document as to
                      Michael Musacchio (1). Transcript Redaction Request 244 and Motion to
                      Redact 245 are withdrawn. (Ordered by Judge Jorge A Solis on 1/28/2014)
                      (chmb) (Entered: 01/28/2014)
 01/29/2014   251     Redacted Transcript for remote electronic access in case as to Michael
                      Musacchio re: 231 Notice of Filing of Official Electronic Transcript of Trial
                      Volume 2 of 8 Proceedings as to Michael Musacchio held on 02/20/2013
                      before Judge Jorge A. Solis. Court Reporter/Transcriber Shawn McRoberts,
                      Telephone number (214) 753−2349. Parties are notified of their duty to review
                      the transcript. A copy may be purchased from the court reporter or viewed at
                      the clerk's office public terminal. If redaction is necessary, a Redaction
                      Request − Transcript must be filed within 21 days. If no such Request is filed,
                      the transcript will be made available via PACER without redaction after 90
                      calendar days. If redaction request filed, this transcript will not be accessible
                      via PACER; see redacted transcript. The clerk will mail a copy of this notice
                      to parties not electronically noticed. (233 pages) Redaction Request due
                      1/24/2014. Redacted Transcript Deadline set for 2/3/2014. Release of
                      Transcript Restriction set for 4/3/2014. (smm) (smm) (Entered: 01/29/2014)

                                                                                                          21
Case 3:10-cr-00308-P Document 270 Filed 11/30/18             Page 22 of 87 PageID 5603


 01/29/2014   252     Redacted Transcript for remote electronic access in case as to Michael
                      Musacchio re: 232 Notice of Filing of Official Electronic Transcript of Trial
                      Volume 3 of 8 Proceedings as to Michael Musacchio held on 02/21/2013
                      before Judge Jorge A. Solis. Court Reporter/Transcriber Shawn McRoberts,
                      Telephone number (214) 753−2349. Parties are notified of their duty to review
                      the transcript. A copy may be purchased from the court reporter or viewed at
                      the clerk's office public terminal. If redaction is necessary, a Redaction
                      Request − Transcript must be filed within 21 days. If no such Request is filed,
                      the transcript will be made available via PACER without redaction after 90
                      calendar days. If redaction request filed, this transcript will not be accessible
                      via PACER; see redacted transcript. The clerk will mail a copy of this notice
                      to parties not electronically noticed. (268 pages) Redaction Request due
                      1/24/2014. Redacted Transcript Deadline set for 2/3/2014. Release of
                      Transcript Restriction set for 4/3/2014. (smm) (smm) (Entered: 01/29/2014)
 01/29/2014   253     Redacted Transcript for remote electronic access in case as to Michael
                      Musacchio re: 233 Notice of Filing of Official Electronic Transcript of Trial
                      Volume 4 of 8 Proceedings as to Michael Musacchio held on 02/22/2013
                      before Judge Jorge A. Solis. Court Reporter/Transcriber Shawn McRoberts,
                      Telephone number (214) 753−2349. Parties are notified of their duty to review
                      the transcript. A copy may be purchased from the court reporter or viewed at
                      the clerk's office public terminal. If redaction is necessary, a Redaction
                      Request − Transcript must be filed within 21 days. If no such Request is filed,
                      the transcript will be made available via PACER without redaction after 90
                      calendar days. If redaction request filed, this transcript will not be accessible
                      via PACER; see redacted transcript. The clerk will mail a copy of this notice
                      to parties not electronically noticed. (226 pages) Redaction Request due
                      1/24/2014. Redacted Transcript Deadline set for 2/3/2014. Release of
                      Transcript Restriction set for 4/3/2014. (smm) (smm) (Entered: 01/29/2014)
 01/29/2014   254     Redacted Transcript for remote electronic access in case as to Michael
                      Musacchio re: 236 Notice of Filing of Official Electronic Transcript of Trial
                      Volume 7 of 8 Proceedings as to Michael Musacchio held on 02/27/2013
                      before Judge Jorge A. Solis. Court Reporter/Transcriber Shawn McRoberts,
                      Telephone number (214) 753−2349. Parties are notified of their duty to review
                      the transcript. A copy may be purchased from the court reporter or viewed at
                      the clerk's office public terminal. If redaction is necessary, a Redaction
                      Request − Transcript must be filed within 21 days. If no such Request is filed,
                      the transcript will be made available via PACER without redaction after 90
                      calendar days. If redaction request filed, this transcript will not be accessible
                      via PACER; see redacted transcript. The clerk will mail a copy of this notice
                      to parties not electronically noticed. (225 pages) Redaction Request due
                      1/24/2014. Redacted Transcript Deadline set for 2/3/2014. Release of
                      Transcript Restriction set for 4/3/2014. (smm) (smm) (Entered: 01/29/2014)
 01/29/2014   255     Redacted Transcript for remote electronic access in case as to Michael
                      Musacchio re: 239 Notice of Filing of Official Electronic Transcript of
                      Sentencing Part 2 Proceedings as to Michael Musacchio held on 09/05/2013
                      before Judge Jorge A. Solis. Court Reporter/Transcriber Shawn McRoberts,
                      Telephone number (214) 753−2349. Parties are notified of their duty to review
                      the transcript. A copy may be purchased from the court reporter or viewed at
                      the clerk's office public terminal. If redaction is necessary, a Redaction
                      Request − Transcript must be filed within 21 days. If no such Request is filed,
                                                                                                          22
Case 3:10-cr-00308-P Document 270 Filed 11/30/18              Page 23 of 87 PageID 5604


                      the transcript will be made available via PACER without redaction after 90
                      calendar days. If redaction request filed, this transcript will not be accessible
                      via PACER; see redacted transcript. The clerk will mail a copy of this notice
                      to parties not electronically noticed. (165 pages) Redaction Request due
                      1/24/2014. Redacted Transcript Deadline set for 2/3/2014. Release of
                      Transcript Restriction set for 4/3/2014. (smm) (smm) (Entered: 01/29/2014)
 02/04/2014           Record on Appeal for USCA5 13−11294 (related to 224 appeal) as to Michael
                      Musacchio: Record consisting of: ECF electronic record, 15 Volume(s)
                      electronic transcript, original exhibits, 1 envelope(s) PSR/SOR, Sealed or ex
                      parte document number(s): 52,59112,118,120,122,161,190,198,202,204,214
                      (circuit approval is required for access), certified to USCA. To request a copy
                      of the record (on disk or on paper), contact the appeals deputy in advance to
                      arrange delivery. (svc) (Entered: 02/04/2014)
 02/06/2014           Record on Appeal for USCA5 13−11294 (related to 224 appeal) as to Michael
                      Musacchio: transmitted to US Attorney's Office on disk only by hand delivery
                      (svc) (Entered: 02/06/2014)
 02/06/2014           Record on Appeal for USCA5 13−11294 (related to 224 appeal) as to Michael
                      Musacchio: transmitted to Kendall Law Group on disk only by hand delivery
                      (svc) (Entered: 02/06/2014)
 03/20/2014   257     Receipt for Return of Passport to US Department of State as to Michael
                      Musacchio. Passport Number 439908295 issued by USA. (ctf) (Entered:
                      03/21/2014)
 09/04/2014   258     TRIAL EXHIBITS by Michael Musacchio (svc) (Entered: 09/04/2014)
 09/04/2014   259     EXHIBITS as to Michael Musacchio (svc) (Entered: 09/04/2014)
 09/04/2014           Supplemental Record on Appeal for USCA5 13−11294 (related to 224 appeal)
                      as to Michael Musacchio: Record consisting of: 1 ECF electronic record,
                      certified to USCA. To request a copy of the record (on disk or on paper),
                      contact the appeals deputy in advance to arrange delivery. (svc) (Entered:
                      09/04/2014)
 09/05/2014           Supplemental Record on Appeal for USCA5 13−11294 (related to 224 appeal)
                      as to Michael Musacchio: transmitted to US Attorney's Office (svc) (Entered:
                      09/05/2014)
 11/26/2014           Return of Exhibits to US Attorney's Office. No exhibits remain in clerk
                      custody. (EXH−ADM flag removed) Exhibits offered by USA as to Michael
                      Musacchio. (svc) (Entered: 11/26/2014)
 12/18/2014   260     Opinion of USCA in accordance with USCA judgment re 224 Notice of
                      Appeal, filed by Michael Musacchio. (svc) (Entered: 12/18/2014)
 12/18/2014   261     JUDGMENT/MANDATE of USCA as to 224 Notice of Appeal, filed by
                      Michael Musacchio. The judgment of the District Court is affirmed
                      (Attachments: # 1 USCA5 Letter) (svc) (Entered: 12/18/2014)
 01/05/2015   262     ORDER as to Michael Musacchio: On this day, the Court considered the need
                      to enter the following order. The above Defendant shall surrender to the
                      Bureau of Prisons on Wednesday, 2/11/2015 before 2:00p.m. It is therefore
                      ORDERED that Defendant Michael Musacchio surrender to the Bureau of

                                                                                                          23
Case 3:10-cr-00308-P Document 270 Filed 11/30/18               Page 24 of 87 PageID 5605


                        Prisons on 2/11/2015 before 2:00p.m. (Ordered by Chief Judge Jorge A Solis
                        on 1/5/2015) (bdb) (Entered: 01/06/2015)
 02/09/2015   265       Emergency MOTION to Continue Surrender Date filed by Michael
                        Musacchio (Kendall, Joe) (Entered: 02/09/2015)
 02/10/2015   266       MOTION to Withdraw Document 265 Emergency MOTION to Continue
                        Surrender Date filed by Michael Musacchio (Kendall, Joe) (Entered:
                        02/10/2015)
 07/02/2015   267       Received letter from USCA5: The petition for a writ of certiorari is granted.
                        (axm) (Entered: 07/02/2015)
 11/02/2018   268       Prob 12E as to Michael Musacchio. (Ordered by Judge David C Godbey on
                        11/2/2018) (svc) (Entered: 11/05/2018)
 11/20/2018   269   87 ORDER TRANSFERRING PROBATION/SUPERVISED RELEASE
                       JURISDICTION as to Michael Musacchio pursuant to 18 USC 3605 with the
                       records of this court TO the US District Court for Northern District of Illinois
                       FROM Northern District of Texas upon order accepting jurisdiction. Case
                       number in other district: 18cr787. (Ordered by Judge David C Godbey on
                       11/02/2018) (twd) (Entered: 11/30/2018)




                                                                                                          24
   Case 3:10-cr-00308-P Document 1 Filed 11/02/10 Page 1 of 31 PageID 1
Case 3:10-cr-00308-P Document 270 Filed 11/30/18 Page 25 of 87 PageID 5606




                                                                             25
   Case 3:10-cr-00308-P Document 1 Filed 11/02/10 Page 2 of 31 PageID 2
Case 3:10-cr-00308-P Document 270 Filed 11/30/18 Page 26 of 87 PageID 5607




                                                                             26
   Case 3:10-cr-00308-P Document 1 Filed 11/02/10 Page 3 of 31 PageID 3
Case 3:10-cr-00308-P Document 270 Filed 11/30/18 Page 27 of 87 PageID 5608




                                                                             27
   Case 3:10-cr-00308-P Document 1 Filed 11/02/10 Page 4 of 31 PageID 4
Case 3:10-cr-00308-P Document 270 Filed 11/30/18 Page 28 of 87 PageID 5609




                                                                             28
   Case 3:10-cr-00308-P Document 1 Filed 11/02/10 Page 5 of 31 PageID 5
Case 3:10-cr-00308-P Document 270 Filed 11/30/18 Page 29 of 87 PageID 5610




                                                                             29
   Case 3:10-cr-00308-P Document 1 Filed 11/02/10 Page 6 of 31 PageID 6
Case 3:10-cr-00308-P Document 270 Filed 11/30/18 Page 30 of 87 PageID 5611




                                                                             30
   Case 3:10-cr-00308-P Document 1 Filed 11/02/10 Page 7 of 31 PageID 7
Case 3:10-cr-00308-P Document 270 Filed 11/30/18 Page 31 of 87 PageID 5612




                                                                             31
   Case 3:10-cr-00308-P Document 1 Filed 11/02/10 Page 8 of 31 PageID 8
Case 3:10-cr-00308-P Document 270 Filed 11/30/18 Page 32 of 87 PageID 5613




                                                                             32
   Case 3:10-cr-00308-P Document 1 Filed 11/02/10 Page 9 of 31 PageID 9
Case 3:10-cr-00308-P Document 270 Filed 11/30/18 Page 33 of 87 PageID 5614




                                                                             33
  Case 3:10-cr-00308-P Document 1 Filed 11/02/10 Page 10 of 31 PageID 10
Case 3:10-cr-00308-P Document 270 Filed 11/30/18 Page 34 of 87 PageID 5615




                                                                             34
  Case 3:10-cr-00308-P Document 1 Filed 11/02/10 Page 11 of 31 PageID 11
Case 3:10-cr-00308-P Document 270 Filed 11/30/18 Page 35 of 87 PageID 5616




                                                                             35
  Case 3:10-cr-00308-P Document 1 Filed 11/02/10 Page 12 of 31 PageID 12
Case 3:10-cr-00308-P Document 270 Filed 11/30/18 Page 36 of 87 PageID 5617




                                                                             36
  Case 3:10-cr-00308-P Document 1 Filed 11/02/10 Page 13 of 31 PageID 13
Case 3:10-cr-00308-P Document 270 Filed 11/30/18 Page 37 of 87 PageID 5618




                                                                             37
  Case 3:10-cr-00308-P Document 1 Filed 11/02/10 Page 14 of 31 PageID 14
Case 3:10-cr-00308-P Document 270 Filed 11/30/18 Page 38 of 87 PageID 5619




                                                                             38
  Case 3:10-cr-00308-P Document 1 Filed 11/02/10 Page 15 of 31 PageID 15
Case 3:10-cr-00308-P Document 270 Filed 11/30/18 Page 39 of 87 PageID 5620




                                                                             39
  Case 3:10-cr-00308-P Document 1 Filed 11/02/10 Page 16 of 31 PageID 16
Case 3:10-cr-00308-P Document 270 Filed 11/30/18 Page 40 of 87 PageID 5621




                                                                             40
  Case 3:10-cr-00308-P Document 1 Filed 11/02/10 Page 17 of 31 PageID 17
Case 3:10-cr-00308-P Document 270 Filed 11/30/18 Page 41 of 87 PageID 5622




                                                                             41
  Case 3:10-cr-00308-P Document 1 Filed 11/02/10 Page 18 of 31 PageID 18
Case 3:10-cr-00308-P Document 270 Filed 11/30/18 Page 42 of 87 PageID 5623




                                                                             42
  Case 3:10-cr-00308-P Document 1 Filed 11/02/10 Page 19 of 31 PageID 19
Case 3:10-cr-00308-P Document 270 Filed 11/30/18 Page 43 of 87 PageID 5624




                                                                             43
  Case 3:10-cr-00308-P Document 1 Filed 11/02/10 Page 20 of 31 PageID 20
Case 3:10-cr-00308-P Document 270 Filed 11/30/18 Page 44 of 87 PageID 5625




                                                                             44
  Case 3:10-cr-00308-P Document 1 Filed 11/02/10 Page 21 of 31 PageID 21
Case 3:10-cr-00308-P Document 270 Filed 11/30/18 Page 45 of 87 PageID 5626




                                                                             45
  Case 3:10-cr-00308-P Document 1 Filed 11/02/10 Page 22 of 31 PageID 22
Case 3:10-cr-00308-P Document 270 Filed 11/30/18 Page 46 of 87 PageID 5627




                                                                             46
  Case 3:10-cr-00308-P Document 1 Filed 11/02/10 Page 23 of 31 PageID 23
Case 3:10-cr-00308-P Document 270 Filed 11/30/18 Page 47 of 87 PageID 5628




                                                                             47
  Case 3:10-cr-00308-P Document 1 Filed 11/02/10 Page 24 of 31 PageID 24
Case 3:10-cr-00308-P Document 270 Filed 11/30/18 Page 48 of 87 PageID 5629




                                                                             48
  Case 3:10-cr-00308-P Document 1 Filed 11/02/10 Page 25 of 31 PageID 25
Case 3:10-cr-00308-P Document 270 Filed 11/30/18 Page 49 of 87 PageID 5630




                                                                             49
  Case 3:10-cr-00308-P Document 1 Filed 11/02/10 Page 26 of 31 PageID 26
Case 3:10-cr-00308-P Document 270 Filed 11/30/18 Page 50 of 87 PageID 5631




                                                                             50
  Case 3:10-cr-00308-P Document 1 Filed 11/02/10 Page 27 of 31 PageID 27
Case 3:10-cr-00308-P Document 270 Filed 11/30/18 Page 51 of 87 PageID 5632




                                                                             51
  Case 3:10-cr-00308-P Document 1 Filed 11/02/10 Page 28 of 31 PageID 28
Case 3:10-cr-00308-P Document 270 Filed 11/30/18 Page 52 of 87 PageID 5633




                                                                             52
  Case 3:10-cr-00308-P Document 1 Filed 11/02/10 Page 29 of 31 PageID 29
Case 3:10-cr-00308-P Document 270 Filed 11/30/18 Page 53 of 87 PageID 5634




                                                                             53
  Case 3:10-cr-00308-P Document 1 Filed 11/02/10 Page 30 of 31 PageID 30
Case 3:10-cr-00308-P Document 270 Filed 11/30/18 Page 54 of 87 PageID 5635




                                                                             54
  Case 3:10-cr-00308-P Document 1 Filed 11/02/10 Page 31 of 31 PageID 31
Case 3:10-cr-00308-P Document 270 Filed 11/30/18 Page 55 of 87 PageID 5636




                                                                             55
 Case 3:10-cr-00308-P Document 145 Filed 01/08/13 Page 1 of 25 PageID 710
Case 3:10-cr-00308-P Document 270 Filed 11/30/18 Page 56 of 87 PageID 5637




                                                                             56
 Case 3:10-cr-00308-P Document 145 Filed 01/08/13 Page 2 of 25 PageID 711
Case 3:10-cr-00308-P Document 270 Filed 11/30/18 Page 57 of 87 PageID 5638




                                                                             57
 Case 3:10-cr-00308-P Document 145 Filed 01/08/13 Page 3 of 25 PageID 712
Case 3:10-cr-00308-P Document 270 Filed 11/30/18 Page 58 of 87 PageID 5639




                                                                             58
 Case 3:10-cr-00308-P Document 145 Filed 01/08/13 Page 4 of 25 PageID 713
Case 3:10-cr-00308-P Document 270 Filed 11/30/18 Page 59 of 87 PageID 5640




                                                                             59
 Case 3:10-cr-00308-P Document 145 Filed 01/08/13 Page 5 of 25 PageID 714
Case 3:10-cr-00308-P Document 270 Filed 11/30/18 Page 60 of 87 PageID 5641




                                                                             60
 Case 3:10-cr-00308-P Document 145 Filed 01/08/13 Page 6 of 25 PageID 715
Case 3:10-cr-00308-P Document 270 Filed 11/30/18 Page 61 of 87 PageID 5642




                                                                             61
 Case 3:10-cr-00308-P Document 145 Filed 01/08/13 Page 7 of 25 PageID 716
Case 3:10-cr-00308-P Document 270 Filed 11/30/18 Page 62 of 87 PageID 5643




                                                                             62
 Case 3:10-cr-00308-P Document 145 Filed 01/08/13 Page 8 of 25 PageID 717
Case 3:10-cr-00308-P Document 270 Filed 11/30/18 Page 63 of 87 PageID 5644




                                                                             63
 Case 3:10-cr-00308-P Document 145 Filed 01/08/13 Page 9 of 25 PageID 718
Case 3:10-cr-00308-P Document 270 Filed 11/30/18 Page 64 of 87 PageID 5645




                                                                             64
 Case 3:10-cr-00308-P Document 145 Filed 01/08/13 Page 10 of 25 PageID 719
Case 3:10-cr-00308-P Document 270 Filed 11/30/18 Page 65 of 87 PageID 5646




                                                                             65
 Case 3:10-cr-00308-P Document 145 Filed 01/08/13 Page 11 of 25 PageID 720
Case 3:10-cr-00308-P Document 270 Filed 11/30/18 Page 66 of 87 PageID 5647




                                                                             66
 Case 3:10-cr-00308-P Document 145 Filed 01/08/13 Page 12 of 25 PageID 721
Case 3:10-cr-00308-P Document 270 Filed 11/30/18 Page 67 of 87 PageID 5648




                                                                             67
 Case 3:10-cr-00308-P Document 145 Filed 01/08/13 Page 13 of 25 PageID 722
Case 3:10-cr-00308-P Document 270 Filed 11/30/18 Page 68 of 87 PageID 5649




                                                                             68
 Case 3:10-cr-00308-P Document 145 Filed 01/08/13 Page 14 of 25 PageID 723
Case 3:10-cr-00308-P Document 270 Filed 11/30/18 Page 69 of 87 PageID 5650




                                                                             69
 Case 3:10-cr-00308-P Document 145 Filed 01/08/13 Page 15 of 25 PageID 724
Case 3:10-cr-00308-P Document 270 Filed 11/30/18 Page 70 of 87 PageID 5651




                                                                             70
 Case 3:10-cr-00308-P Document 145 Filed 01/08/13 Page 16 of 25 PageID 725
Case 3:10-cr-00308-P Document 270 Filed 11/30/18 Page 71 of 87 PageID 5652




                                                                             71
 Case 3:10-cr-00308-P Document 145 Filed 01/08/13 Page 17 of 25 PageID 726
Case 3:10-cr-00308-P Document 270 Filed 11/30/18 Page 72 of 87 PageID 5653




                                                                             72
 Case 3:10-cr-00308-P Document 145 Filed 01/08/13 Page 18 of 25 PageID 727
Case 3:10-cr-00308-P Document 270 Filed 11/30/18 Page 73 of 87 PageID 5654




                                                                             73
 Case 3:10-cr-00308-P Document 145 Filed 01/08/13 Page 19 of 25 PageID 728
Case 3:10-cr-00308-P Document 270 Filed 11/30/18 Page 74 of 87 PageID 5655




                                                                             74
 Case 3:10-cr-00308-P Document 145 Filed 01/08/13 Page 20 of 25 PageID 729
Case 3:10-cr-00308-P Document 270 Filed 11/30/18 Page 75 of 87 PageID 5656




                                                                             75
 Case 3:10-cr-00308-P Document 145 Filed 01/08/13 Page 21 of 25 PageID 730
Case 3:10-cr-00308-P Document 270 Filed 11/30/18 Page 76 of 87 PageID 5657




                                                                             76
 Case 3:10-cr-00308-P Document 145 Filed 01/08/13 Page 22 of 25 PageID 731
Case 3:10-cr-00308-P Document 270 Filed 11/30/18 Page 77 of 87 PageID 5658




                                                                             77
 Case 3:10-cr-00308-P Document 145 Filed 01/08/13 Page 23 of 25 PageID 732
Case 3:10-cr-00308-P Document 270 Filed 11/30/18 Page 78 of 87 PageID 5659




                                                                             78
 Case 3:10-cr-00308-P Document 145 Filed 01/08/13 Page 24 of 25 PageID 733
Case 3:10-cr-00308-P Document 270 Filed 11/30/18 Page 79 of 87 PageID 5660




                                                                             79
 Case 3:10-cr-00308-P Document 145 Filed 01/08/13 Page 25 of 25 PageID 734
Case 3:10-cr-00308-P Document 270 Filed 11/30/18 Page 80 of 87 PageID 5661




                                                                             80
 Case 3:10-cr-00308-P Document 222 Filed 11/19/13 Page 1 of 6 PageID 1473
Case 3:10-cr-00308-P Document 270 Filed 11/30/18 Page 81 of 87 PageID 5662




                                                                             81
 Case 3:10-cr-00308-P Document 222 Filed 11/19/13 Page 2 of 6 PageID 1474
Case 3:10-cr-00308-P Document 270 Filed 11/30/18 Page 82 of 87 PageID 5663




                                                                             82
 Case 3:10-cr-00308-P Document 222 Filed 11/19/13 Page 3 of 6 PageID 1475
Case 3:10-cr-00308-P Document 270 Filed 11/30/18 Page 83 of 87 PageID 5664




                                                                             83
 Case 3:10-cr-00308-P Document 222 Filed 11/19/13 Page 4 of 6 PageID 1476
Case 3:10-cr-00308-P Document 270 Filed 11/30/18 Page 84 of 87 PageID 5665




                                                                             84
 Case 3:10-cr-00308-P Document 222 Filed 11/19/13 Page 5 of 6 PageID 1477
Case 3:10-cr-00308-P Document 270 Filed 11/30/18 Page 85 of 87 PageID 5666




                                                                             85
 Case 3:10-cr-00308-P Document 222 Filed 11/19/13 Page 6 of 6 PageID 1478
Case 3:10-cr-00308-P Document 270 Filed 11/30/18 Page 86 of 87 PageID 5667




                                                                             86
   Case 3:10-cr-00308-P Document 269 Filed 11/20/18 Page 1 of 1 PageID 5581
  Case$758(&23<$77(67
        3:10-cr-00308-P Document 270 Filed 11/30/18 Page 87 of 87 PageID 5668
   7+20$6*%58721&/(5.
                  
      %\V/$85$635,1*(5
          '(387<&/(5.
86',675,&7&28571257+(51
       ',675,&72),//,12,6
                  
         1RYHPEHU




                                                                                87
